Case 2:08-cv-11261-AJT-MAR ECF No. 6-3, PagelD.213 Filed 04/01/08 Page 1 of 18

EXHIBIT A

 
 

   

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y UNITED STATES DISTRICT COURT
; st? EASTERN DISTRICT OF MICHIGAN
; SOUTHERN DIVISION
)
UNITED STATES SECURITIES )
AND EXCHANGE Commission )
2:07-tV- 4954
Plaintiff, Sage: Feikens, JOnM
. Referral MJ: Mongar oab4 AM
v. ; files 6 EE CURITIES AND SEXCHANGE VS M
) oy et ALU
EDWARD P. MAY and ). :
E-M MANAGEMENT CO, LLC, ‘)
)
Defendants. )
)
COMPLAINT

Plaintiff, United States Securities and Exchange Commission (“Commission”),

alleges and states as follows:
NATURE OF THE COMPLAINT

1. From at least 1998 through July 2007, Edward P. May (“May”), through
E-M Management Co, LLC (“E-M”) raised at least $74 million to as much as $250
million, from at least 500 to as many as 1200 investors, by fraudulently selling securities
in the form of interests in limited liability companies (“T..Cs”). May and E-M told
investors that these LLCs had been contracted to install and provide telecommunications
equipment and services to major hotel chains and casinos, including establishments
located in Las Vegas, Nevada. Thc investors in these deals were located in at least seven
states: Michigan, California, Florida, Illinois, New York, Ohio and New Jersey. May
and E-M represented to investors, many of whom were elderly, both orally and in

writing, that investors would receive returns in the form of monthly payments for a
  

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period of as much as 12 to 14 years. May and E-M went further and “guaranteed” that
investors would receive these promised payments for 20 to 24 months beginning soon
aftcr they invested (“the guarantee period”). These and other representations made to
investors were false. In reality, the E-M offerings were a fraud.

2, May and E-M falsely represented to investors that May and E-M had
contractual relationships with various hotels, casinos, and similar cstablishments for the
installation and service of telecommunications equipment. In fact, there were no such
contracts.

3. Indeed, to further their scheme, May and E-M provided at least some
investors with copies of fictitious contracts between E-M and/or certain LLCs and
various hotels and casinos for the installation and service of telecommunications
equipment. Sore of these fictitious contracts included the names of people who either
did not exist or who did not have contracting authority.

4. Additionally, to perpetrate their fraudulent scheme, May and E-M relied
on a network of individuals to solicit investors. Among these solicitors are a registered
representative with a registered broker dealer. Several of these solicitors organized
“investment seminars” to entice investors, including elderly individuals, to invest in the
LLCs,

5. May and E-M have violated and, unless enjoined, will continue to violate
Sections 5(a), 5(c), and 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.
§§ 77e(a), 77e(c) and 77q(a)], Section 10(b) of the Sccurities Exchange Act of 1934

(“Exchange Act”) [15 U.S.C. § 78j] and Rule 10b-5 [17 C.F.R. § 240.10b-5] thercunder.
 

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6. Accordingly, the Commission secks against May and E-M orders of
preliminary and permanent injunction enjoining them from future violations of the
foregoing provisions of the federal securities laws, disgorgement, plus prejudgment
interest, of all ill-gotten gains, civil penalties and such other ancillary and equitable relicf
as Is sought herein and may be appropriate.

7. ‘The Commission brings this action pursuant to Section 20(b) of the
Securities Act [15 U.S.C. § 77t(b)], and Sections 21(d) and 21(c) of the Exchange Act
[15 U.S.C. §§ 78u(d) and 78u(e)]. |

DEFENDANTS

 

8. Edward P. May (“May”), age 71, is a resident of Oakland County,
Michigan. At all times relevant to this case, May purported to be a member and to
participate in the day-to-day management of E-M Management Co, LLC.

9. E-M Management Co. LLC (“E-M”’), is a Michigan limited liability
company, which is located in, and transacts business in, the Eastern District of Michigan.
JURISDICTION

10. = This Court has jurisdiction pursuant to Section 22(a) of the Securities Act
[15 U.S.C, § 77v], and Sections 21(e) and 27 of the Exchange Act [15 U.S.C. §§ 78u(e)
and 78aa] and 28 U.S.C. § 1331. Venue is proper in this Court pursuant to Section 22(a)
of the Securities Act (15 U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C.
§ 78aa],

1]. The acts, practices and courses of business constituting the violations
alleged herein occurred within the jurisdiction of the United States District Court for the

Eastern District of Michigan and elsewhere.
  

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12. Defendants are inhabitants of, and transact business in, the Eastern District
of Michigan.

13, Defendants, directly or indirectly, have made and are making use of the
mail or the means or instrumentalities of interstate commerce in conncction with the
transactions, acts, practices and courses of business alleged herein.

MAY AND E-M SOLICITED INVESTORS INTO LLCS

14. Beginning at least as early as 1998, and as recently as July 2007, May and
E-M sold interests, or percentages, of LLCs to investors. May and E-M raised at least
$74 million, and perhaps as much as $250 million, from at least 500, and perhaps as
many as 1200, investors through the sale of interests in the LLCs.

15. May and F-M solicited investors through various means.

16. | May spoke with investors by telephone and in person.

17. Many of the offering materials typically included a private offering
memorandum, which described the security being issued and the purpose of the venture;
and a subscription agreement, which investors were required to sign before purchasing
interests in the LLC,

18. Many of the LLC offering materials provided to investors, also contained
purported contracts relating to the supposed installation and servicing of
telecommunications equipment in locations such as hotel chains and casinos.

19. | May represented to investors and to prospective investors, both orally and
in wriling, that each LLC was going to install and service telecommunication equipment

in various locations such as hotels and casinos.
  

 

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20. | May and E-M promised investors, both orally and in writing, that they
would receive returns in the form of monthly payments for as much as 12-14 years. May
and E-M “guaranteed” that investors would received these promised payments for 20-24
months beginning soon after they invested. May and E-M represented, both orally and in
writing, that the monthly payments would derive from fees to be paid by hotels and
casinos for the use of telecommunication equipment.

21. As part of the offering, each investor was required to sign a “subscription
agreement” in which he or she agreed to purchase an interest in the LLC. The
subscription agreement set forth the monthly payment income for the guarantec period.

22, The purchase of interests in LLCs by over 500 investors, and perhaps as
many as 1200 investors, was an imvestment.

23, According to the offering materials, investor funds were to be pooled on
an offcring-by-offering basis for the purpose of installing and servicing
telecommunications equipment for hotels and casinos. In reality, investor funds from the
various offerings were commingled together in a pool.

24. According to the offering materials, in any given offering, investors’
financial interests were to be identical because their respective returns depended on the
success of the installation and servicing telecommunications equipment al hotels and
casinos by May and E-M.

MAY AND E-M SOLD UNREGISTERED SECURITIES TO INVESTORS

25. The interests in LLCs that May and E-M offered and sold to investors

were securities.
  

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26. No registration statements have ever been filed or in effect for any of the
interests of LLCs that May and E-M offered and sold to investors.

MAY AND E-M MADE MISREPRESENTATIONS
TO INVESTORS ABOUT E-M AND LLCS

27. Through the offering materials, and through oral and written statement to
investors, May and E-M falsely represented to investors that E-M had cxisting contracts
with certain hotel and casino chains to provide telecommunication equipment and
services.

28. The following are examples of May’s and E-M’s false represcntations to
investors:

Hilton Hotels

29. May and E-M falsely represented to investors that they had a contractual
relationship with Hilton Hotel Corp. (“Elilton”) in at least 39 securities offerings, which
raised approximately $27.4 million from investors.

30. Offering materials disseminated by May and E-M contained an
“Agreement for Providing Telecommunications Services,” which purported to be an
aprccment between Eubberoth Telecom Ltd. (“Eubberoth”) and E-M to provide
communication services to Hilton hotels. This agreement stated that Eubberoth is a
Norwegian corporation that is an agent for Hilton.

31. Offering materials disseminated by May and E-M also included a
“Consolidated Communications Agreement,” which purported to be an agreement
between Hilton and E-M to provide telecommunication services. The agreement

identificd as a signatory, a former Senior Vice President of Hilton.
 

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32. In fact, however, [lilton has no business relationship with May, E-M, or
Eubberoth.

33. Additionally, the former Senior Vice President of Hilton has no
knowledge or recollection of any contract with E-M.

MGM Grand Hotel

34. May and E-M falsely represented to investors that they had a contractual
relationship with MGM Grand Hotel, LLC (“MGM Grand”) in at least two offerings,
which raised $2.9 million from investors.

35. In a January 4, 2007 letter to investors, May represented io mvestors that
an LLC managed by E-M, L.V. Grand Project IT LLC, was the exclusive provider of
tclecomtmunication services and equipment to the MGM Grand.

36. Further, a “Consolidated Communications Agreement” that May and E-M
provided to investors purported to be an agreernenl between MGM-Mirage Resorts Inc.
and E-M, pursuant to which E-M would provide telecommunications services to the
MGM Grand. This agreement identifies as a signatory, Randal A, Wolf, Vice President
of Corporate for MGM-Mitage Resorts Inc.

37. In fact, however, MGM Grand has no business relationship with E-M or
May. Further, no one named Randal A. Wolf is, or ever has been, Vice President of
Corporate for MGM-Mirage Resorts, Inc.

38. Additionally, MGM-Mirage Resorts, Inc. is not a legal entity associated

_ with the MGM Grand.
  

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Motel 6

39, May and E-M falsely represented to investors that they had a contract with
a Motel 6 located in Dale, Indiana, in at least one offering, which raised $437,040 from
investors.

40. In fact, however, the Motel 6 in Dale, Indiana, has never had a contract
with E-M or May.

Tropicana Resort Casino

41. May and E-M falsely represented to investors that they had a contractual
relationship with Tropicana Resort Casino (“Tropicana”) in at least one offering, which
raised approximately $495,800 from investors. A “Consolidated Communications
Agreement,” provided to investors by May and E-M, purported to be an agreement
between Tropicana Resorts Inc. and E-M, pursuant to which E-M would provide
communications services to Tropicana, The agreement identified as a signatory, Reed
Stewart (also spelled Steward in the agreement), Vice President of Corporate for
Tropicana Resorts Inc.

42. In fact, however, Tropicana has no business relationship with E-M or
May.

43. Further, no person by the name of Reed Steward or Reed Stewart has ever
served as vice president or senior officer of any kind for Tropicana Resorts, Inc.

Sheraton Hotels

44, May and E-M represented to investors that they had a contractual

relationship with Sheraton hotels in at least two offerings, which raised a total of

approximately $1.3 million from investors.
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45, In fact, however, Starwood Hotels & Resorts Worldwide, Inc.
(“Starwood”), owner of Sheraton hotels, has no records indicating that May or E-M
conducted any business with Starwood.

COLLAPSE OF THE FRAUDULENT SCHEME

46. By July 2007, May and E-M were unable to make monthly payments in a
timely manner.

47, Onorabout July 31, 2007, May sent a letter to the LLC investors
attempting to explain delays in distributing the guaranteed monthly payments. May
blamed the delays on the difficulty of “maintaining mailing accuracy and volume”
because the number of LLC projects had grown.

48. May and E-M stopped issuing monthly checks to the LLC investors in
August 2007.

49. Ina September 4, 2007 cmail from May to all the LLC investors, he stated
that “I know I have hurt and angered a huge number of people who had faith in me as a
friend and an advisor.” [He further stated that he was “trying to get some other people to
the table who have significant liability in these matters and who have the capacity to at
least come close to making everyone whole.”

50. Inthe September 4, 2007 email, May also attempted to solicit investments
in Creto International, Inc. (“Creto”), a concrete company incorporated in Michigan.
May further suggested to the email recipients that they should consider investing in Creto

because it would provide substantial profits “within a relatively short period of time.”
 

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COUNT I

Violations of Sections 5(a) and 5(c) of the Securities Act
[15 U.S.C. § 77e(a) and (c)]

51. Paragraphs | through 50, are realleged and incorporated by reference as
though set lorth herein.

52. From atleast 1998 through and including July 2007, May and E-M,
directly and indirectly, made usc of the means and instruments of transportation and
communication in interstate commerce and of the mails to sell and offer to sell secutities
in the form of interests in LLCs through the usc and medium of offering materials and
otherwise, securities to which no registration statement was in effect; and carried such
securities and caused them to be carried through the mails and in interstate commerce by
the means and instruments of transportation for the purpose of sale and delivery after
sale.

53. No valid registration statement was filed or was in cffect with the
Cormmission, in conection with interests in the LLCs,

54. No valid exemption from registration under the Federal securities laws
existed for these offerings of interests in the LLCs,

55, By reason of the activities described in paragraphs | through 50,

Defendants May and E-M violated Sections 5(a) and 5(c) of the Securities Act [15 U.S.C.

§§77e(a) and (c)].

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COUNT IT

Violations of Sections 17(a)(1) of the Securities Act
f15 U.S.C. § 77q(a)(1)]

56. Paragraphs 1] through 55, are realleged and incorporated by reference as
though set forth hercin.

57. By engaging in the conduct described above, Defendants May and E-M, in
the offer and sale of securities, by the use of means and instruments of transportation or
communication in interstate commerce or by use of mails, directly or indirectly, have
" employed devices, schemes and artifices to defraud.

58. May and E-M intentionally or recklessly engaged in the devices, schemes,
and artifices as described above.

59. By reason of the foregoing, May and E-M violated Section 17(a)(1) of the
Securities Act [15 U.S.C. § 77q(a)(1)I.

CQUNT Il

Violations of Sections 17(a)(2) and (3) of the Securities Act
[15 U.S.C, § § 77q(a)(2) and 77q(a)G)}

60. Paragraphs 1 through 59, are realleged and incorporated by reference as
though set forth herein.

61. By engaging in the conduct described above, May and E-M, in the offer
and sale of securities, by the use of the means and instruments of transportation or
communication in interstate commerce or by use of the mails, directly or indirectly, have:

a, obtained money or property by means of untrue statements of material

fact or by omitting to state material facts necessary in order to make

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the statements made, in light of the circumstances under which they
were made, not misleading; and

b. engaged in transactions, practices, ot courses of business that operated
or would opcrate as a fraud or deceit upon the purchasers of such
securitics.

62. May and E-M made the untrue statements and omissions of material fact
and engaged in the devices, schemes, and artifices described above. —

63. By reason of the foregoing, May and E-M have violated Sections 17(a)(2)
and (3) of the Securities Act [15 U.S.C. §§ 77q(a)(2) and (3)].

COUNT IV
Violations of Section 10(b) of the Exchange Act
and Rule 10b-5 thereunder
[15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5]

64, Paragraphs | through 63, are realleged and incorporated by reference as
(hough set forth herein.

65. As mote fully described in paragraphs | through 50 above, May and E-M,
in connection with the purchase and sale of sccurities, by the use of the means and.
instrumentalities of interstate commerce and by the use of the mails, directly and
indirectly: used and employed devices, schemes and artifices to defraud; made untrue
statements of material fact and omitted to state material facts necessary in order to make
the statements made, in light of the circumstances under which they were made, not
misleading: and engaged in acts, practices and courses of business which operated or
would have operated as a fraud and deceit upon purchasers and sellers and prospective

purchasers and sellers of securities.

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66. May and E-M intentionally or recklessly engaged in the devices, schemes,
and artifices as described above.
67. By reason of the foregoing, May and E-M violated Scction 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

RELIEF REQUESTED
WHEREFORE, the Commission respectfully requests that this Court:
I.
Find that Defendants May and E-M committed the violations charged and alleged
in this Complaint.
IL.
Enter Orders of Preliminary and Permanent Injunction, in forms consistent with
Rule 65(d) of the Federal Rules of Civil Procedure, restraining and enjoining Defendants
May and E-M, their officers, agents, servants, employees, attomeys and those persons in
active concert or participation with them who receive actual notice of the Order, by
personal service or otherwise, and each of them from, directly or indirectly, engaging in
ihe transactions, acts, practices or courses of business described above, or in conduct of
similar purport and object, in violation of Sections 5(a), 5(c), and 17(a) of the Securities
Act [15 U.S.C. §§ 77e(a), 77e(c) and 77q(a)], Section 10(b) of the Exchange Act [15
U.S.C. § 78j] and Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder.
I.
Issue an Order requiring Defendants May and E-M to disgorge the ill-gotten gains

that they received as a result of their wrongful conduct, including prejudgment interest.

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TV.

With regard to Defendants May’s and E-M’s violative acts, practices and courses
of business set forth herein, issuc an Order imposing upon May and E-M appropriate civil
penalties pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Scction
21(d)(3) of the Exchange Act [15 U.S.C, § 78u(d)G)].

V.

Retain jurisdiction of this action in accordance with the principals of equity and
the Federal Rules of Civil Procedure in order to implement and carry out the terms of all
orders and decrees that may be entered or to entertain any suitable application or motion
for additional relief within the jurisdiction of this Court.

VI
Grant such other and further relief this Court may deem necessary and

appropriate.

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Dated: November 20, 2007

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Respectfully submitted,

Oddghr 9 eanh.

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Suite 2001

Detroit, MI 48226

Telephone: (313) 226-9100
Facsimile: (313) 226-2311

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- (2) PLAINTIFFS
SECURITIES ANIJ EXCHANGER COMMISSION

(b) County of Residence of First Listed Plaintiff

(18XCEPT TN U.S. PLAINTIFF CASES)

(c) Attomey’s (Finn Name, Address, and Telephone Nuniber)

Adalph J, Dean

U.S. Securitics and Exchange Commission, 175 West Jackson Boulevard, Suite 900

Chigago, Illinois 60604-2908, Telephone: (312) 353-7390

fa

   

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DEFENDANTS
Edward P. May

Attomeys ((f Known)

 

E M Management Co. LLC

County of Residence of First Listed Defendant

Oakland County

(INULS, PLAINTIVFE CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED,

 

   
  
 

SIS OF JURISDICTION

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Plaintiff

O2

U.S. Government
Defendant

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IV, NATURE OF SUIT (Select Ono Box Only)
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(Indicate Citizenship of Parties in Item TIN)

 

Case: 2:07-cv-14954

Judge: Feikens, John

Referral MJ: Morgan,

Filed: 11-20-2007 At

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CONTRACT. TORTS FORFEJTURE/PENALTY BANKRUPTCY. OTHER STATUTES ]
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State Court Appellate Court Reopened (specify) Litigation Judement

 

Cite the 0.8. Civil Statute under which you are filing (Do not cite Jurisdictional statutes unless diversity):
(5 U.S.C§N770(a), 776() aud 77a(a); 15 U.8.C.§78); 17 C.F.R.§240.10b-5

Bricf description of cause:
Violation of registration und antifrand provision of federal securities lew

') CHECK IK THIS IS A CLASS ACTION DEMAND $

Na Cecding

YI. CAUSE OF ACTION

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CHECK YRS only if demanded in fea

 

VO. REQUESTED IN

 

 

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: 00 Yes { No
VII. RELATED CASE(5) scarf strustions) 7
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UANT TO LOCAL RULE 83.11

Is this a case that has been previously dismissed? - [| Yes

| No

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

2, Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other L_] Yes
court, including state court? (Companion cases are matters in which [Vv] No
it appears substantially similar evidence will be offered or the same
ot related parties are present and the cases arise out of the same
transaction or occurrence. )

lf yes, give the following information: |

Court:

 

Case No.:

 

Judge:

 

Notes :

LEE TTI CLI OTERO,

 
